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           15.   This is the entire agreement and understanding between this Office and the

   Defendant. There are no other agreements, promises, representations, or understandings.

                                            ARIANA FAJARDO ORSHAN
                                            UNITED STATES ATTORNEY

            3/25/2021
   Date:                               By:-----------------
                                          DANIEL J. MARCET
                                          ASSISTANT UNITED STATES ATTORNEY

                                                 �
   Date:                               By:----------------­
                                          MICHAEL J. ENTIN
                                          COUNSEL FOR DEFENDANT


                                       By     LvJ p�
                                            KEON TRAVY GLANTON
                                            DEFENDANT




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